     Case 3:25-cv-00250-SVN      Document 52-1      Filed 06/13/25   Page 1 of 15




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

ZACHARY SUCCOW, ET AL                         :             No. 3:25-cv-00250-SVN
         Plaintiff                            :
                                              :
             v.                               :
                                              :
PAMELA J. BONDI, ET AL                        :
           Defendants                         :             JUNE 13, 2025

   State Defendants’ Memorandum of Law in Support of Their Motion to
                              Dismiss

      Like any other plaintiff, organizations can only sue in federal court if they meet

the requirements of Article III. An organization cannot bring a civil rights lawsuit

under 42 U.S.C. § 1983 in the Second Circuit unless it shows an injury—a personal

stake in the dispute establishing standing. N.Y. State Citizens Coal. for Child. v.

Poole, 922 F.3d 69, 74-75 (2d Cir. 2019). The Organization Plaintiffs, Connecticut

Citizens Defense League, Inc. (CCDL) and Second Amendment Foundation, Inc.

(SAF) do not have any personal stake in this dispute of Connecticut’s age-restrictions

on possessing and purchasing a handgun and so cannot demonstrate standing. Their

theory of injury, having to allocate organizational resources to oppose a law, was

conclusively foreclosed by Supreme Court precedent. See FDA v. All. for Hippocratic

Med., 602 U.S. 367, 379 (2024). Their theory of associational standing is contrary to

fifty years of Second Circuit precedent. See Poole, 922 F.3d at 74-75. There was no

reason for these bystander organizations to be parties to the case at the outset of

litigation, and there is no reason for them to continue as parties past the pleadings.

The Court should dismiss the claims of CCDL and SAF now.



                                          1
        Case 3:25-cv-00250-SVN    Document 52-1      Filed 06/13/25   Page 2 of 15




   I.       Factual Allegations

         The two individual plaintiffs, Zachary Succow and Samuel Towne, claim to be

injured by General Statutes §§ 29-28(b), 29-34(b), and 29-36f because they are under

the age of 21 and wish to obtain for a license to carry handguns but are prohibited

from doing so by these laws. CCDL and SAF claim that Succow and Towne are

members of both organizations.

         CCDL is a Second Amendment advocacy organization based in Connecticut,

with “over 41,000 members and supporters nationwide.” (Am. Compl., ECF No. 49, ¶

52.) CCDL broadly asserts that, because of these laws, it “expended and diverted

resources otherwise reserved for different institutional functions and purposes.” (Id.

¶ 52.) It further alleges that, “[r]ather than working on other educational, outreach,

public relations, and/or programmatic events and operations, CCDL’s officers and

Executive Board members have devoted, are continuing to devote, or are likely to

devote, significant time, money, effort, and resources” to address the enforcement of

the challenged laws.” (Id., ¶ 54.) CCDL also claims that the challenged laws have

“forced, or likely will force” CCDL to divert other resources “to the cause of this legal

action.” (Id.) Additionally, CCDL states that “there are common questions of law that

substantially affect the rights, duties and liabilities of many of CCDL’s members as

well as potentially numerous similarly situated residents,” and that these interests

are germane to its purpose.

         SAF is a Second Amendment advocacy organization based in Washington, with

“over 720,000 members and supporters nationwide, including many members in



                                           2
     Case 3:25-cv-00250-SVN        Document 52-1      Filed 06/13/25   Page 3 of 15




Connecticut.” (ECF No. 49, ¶ 57.) It is focused on “the constitutional right to privately

own and possess firearms under the Second Amendment, and the consequences of

gun control.” (Id., ¶ 58.) SAF similarly alleges, without particularity, that

enforcement of the challenged statutes have caused it to reallocate resources “that

would otherwise be available for other purposes” to be used in this lawsuit.

         Plaintiffs challenge §§ 29-28(b), 29-34(b), and 29-36f under § 1983, claiming

that the combined effect of these statutes violates their Second Amendment rights.

They seek declaratory and injunctive relief enjoining Defendants from enforcing §§

29-28(b), 29-34(b), and 29-36f as to the individual Plaintiffs, CCDL and SAF and all

of their members, as well as other similarly situated members of the public. (ECF

No. 49, pp. 34-36.)

   II.      Standard of Review

         “A case is properly dismissed for lack of subject matter jurisdiction under Rule

12(b)(1) when the district court lacks the statutory or constitutional power to

adjudicate it.” Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000). “The

plaintiff bears the burden of establishing standing as of the time [s]he brought th[e]

lawsuit and maintaining it thereafter. [The plaintiff] must support each element of

standing with the manner and degree of evidence required at the successive stages of

the litigation.” Murthy v. Missouri, 603 U.S. 43, 58 (2024) (citations and internal

quotations omitted). “[A] plaintiff asserting standing must allege facts that

affirmatively and plausibly suggest that it has standing to sue and courts need not

credit a complaint’s conclusory statements without reference to its factual context.”



                                             3
     Case 3:25-cv-00250-SVN        Document 52-1      Filed 06/13/25    Page 4 of 15




Conn. Parents Union v. Russell-Tucker, 8 F.4th 167, 172 (2d Cir. 2021) (citation and

quotation marks omitted).

   III.   The Organization Plaintiffs Do Not Have Standing.

      CCDL and SAF lack standing because (1) the harm they allege—a diversion of

organization resources—is insufficient as a matter of law, and (2) they cannot, as a

matter of law, bring a § 1983 claim. “For a plaintiff to get in the federal courthouse

door and obtain a judicial determination of what the governing law is, the plaintiff

cannot be a mere bystander, but instead must have a ‘personal stake’ in the dispute.”

All. for Hippocratic Med., 602 U.S. at 379 (citation and quotation marks omitted).

“The requirement that the plaintiff possess a personal stake helps ensure that courts

decide litigants’ legal rights in specific cases, as Article III requires, and that courts

do not opine on legal issues in response to citizens who might ‘roam the country in

search of governmental wrongdoing.’” Id. (citation and quotation marks omitted).

Thus, Article III of the U.S. Constitution limits the jurisdiction of the federal courts

to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. “To establish Article III

standing, a plaintiff must show (1) an injury in fact, (2) a sufficient causal connection

between the injury and the conduct complained of, and (3) a likelihood that the injury

will be redressed by a favorable decision.” Susan B. Anthony List v. Driehaus, 573

U.S. 149, 157-58 (2014).

      In addition to CCDL and SAF, there are two individual Plaintiffs in this

matter. Assuming, without conceding, that those individuals have standing, the

Organization Plaintiffs must establish standing independently of any individual



                                            4
     Case 3:25-cv-00250-SVN       Document 52-1        Filed 06/13/25   Page 5 of 15




Plaintiff’s standing. “[S]tanding is not dispensed in gross . . . .” Lewis v. Casey, 518

U.S. 343, 358 n.6 (1996). “The presence of a plaintiff with valid standing does not . . .

prevent a court from dismissing an organizational plaintiff where there is no clear

basis for standing.” Conn. Citizens Def. League, Inc. v. Thody, 664 F. Supp. 3d 235,

246 (D. Conn. 2023), aff’d Conn. Citizens Def. League, Inc. v. Thody, 2024 U.S. App.

LEXIS 1056 (2d Cir. Jan. 17, 2024). “Organizations . . . may have standing in one of

two ways: by establishing so-called ‘associational’ or ‘representational’ standing to

sue on behalf of its members, or by establishing that it was directly injured as an

organization.” Conn. Parents Union, 8 F.4th at 172.

      The Organization Plaintiffs fail to allege facts supporting either theory.

          A.     The Organization Plaintiffs’ standing theories are foreclosed
                 by binding precedent.

      The Organization Plaintiffs’ diversion of resources to further its abstract social

interest in Second Amendment and gun rights advocacy is insufficient to show an

injury. “[O]rganizations may have standing to sue on their own behalf for injuries

they have sustained. . . . In doing so, however, organizations must satisfy the usual

standards for injury in fact, causation, and redressability that apply to individuals.”

All. for Hippocratic Med., 602 U.S. at 393-94 (citations and quotation marks omitted).

“Like an individual, an organization may not establish standing simply based on the

intensity of the litigant’s interest or because of strong opposition to the government’s

conduct . . . no matter how longstanding the interest and no matter how qualified the

organization . . . . A plaintiff must show far more than simply a setback to the

organization’s abstract social interests.” Id., 394.


                                            5
     Case 3:25-cv-00250-SVN        Document 52-1   Filed 06/13/25   Page 6 of 15




      CCDL and SAF broadly seek to “preserve the effectiveness of the Second

Amendment,” (ECF No. 49, ¶¶ 52, 57), but do not describe how the challenged age-

restrictions have caused them to divert resources away from that mission. The

Organization Plaintiffs offer only the vague and conclusory assertion that they have

“expended and diverted resources otherwise reserved for different institutional

functions and purposes,” (Id. ¶ 52), or dedicated resources “that would otherwise be

available for other purposes” to this lawsuit. (Id., ¶¶ 59.) These injuries are not

enough to establish standing under any pleading standard. CCDL and SAF do not

contend that the challenged laws could be enforced against them, let alone that such

enforcement, even if it were possible, would infringe a Second Amendment right

specific to either organization.

      The Supreme Court has squarely rejected the “diversion of resources” theory.

“[A]n organization that has not suffered a concrete injury caused by a defendant’s

action cannot spend its way into standing simply by expending money to gather

information and advocate against the defendant’s action. An organization cannot

manufacture its own standing in that way.” All. for Hippocratic Med., 602 U.S. at

394. If an organization had standing simply because it “diverts its resources in

response to a defendant’s actions,” then “all the organizations in America would have

standing to challenge almost every federal policy that they dislike, provided they

spend a single dollar opposing those policies.” Id. at 395; see also Conn. Parents

Union, 8 F.4th at 173-74 (allegation that organization expended resources to

counteract illegal activity touching on its core mission, thereby diverting resources



                                          6
     Case 3:25-cv-00250-SVN        Document 52-1       Filed 06/13/25    Page 7 of 15




away from other activities, was insufficient to establish injury in fact). Thus,

organizations that are not directly regulated by the challenged law can only establish

an injury by demonstrating “an involuntary material burden [to their] established

core activities.” Id. at 173. “[E]xpenditures or other activities, if incurred at the

organization’s own initiative, cannot support a finding of injury[.]” Id. at 174. Here,

CCDL and SAF do not (and could not) allege that any of the challenged laws required

them to expend or divert resources, or that their decision to do so was due to anything

other than their own initiative.

       CCDL and SAF also allege that they were “forced” to “divert” resources away

from other matters “to the cause of this legal action.” (ECF No. 49, ¶¶ 45, 59.) To

allege that there was a forced diversion of resources strains credulity here, where the

Organization Plaintiffs each prominently advertised their Second Amendment

litigation efforts. 1 But assuming the truth of that allegations, and even if this exact

theory of standing had not been squarely rejected by the Supreme Court last year,

Organization Plaintiffs’ voluntary decision to divert resources towards litigation

cannot establish standing to commence that litigation. That circular reasoning, where

the act of filing a lawsuit creates standing, would make a mockery Article III.




1 CCDL maintains a solicitation on its website requesting general donations to its

“Litigation Fund.” See https://www.ccdl.us/product-category/donate/ (last visited June 6,
2025). SAF similarly seeks donations in general support of its litigation efforts. See
https://saf.org/individual/ (last visited June 6, 2025). SAF also maintains a “Plaintiff
Search,” on its website, which states “SAF frequently brings lawsuits on behalf of its
individual members and donors. If you would like to be considered as a plaintiff in a new or
pre-existing lawsuit, please fill out the form below. Be sure to indicate the issue that is
affecting you that you want to challenge, for example: ‘Maryland Assault Weapons Ban.’”
See https://saf.org/plaintiff/ (last visited June 6, 2025).
                                             7
     Case 3:25-cv-00250-SVN       Document 52-1     Filed 06/13/25    Page 8 of 15




      CCDL has firsthand experience with a court rejecting allegations of injury like

those it alleges here. In Conn. Citizens Def. League, Inc. v. Lamont, 6 F.4th 439, 447-

48 (2d Cir. 2021), the Second Circuit rejected CCDL’s “diversion of resources” theory

as insufficient to establish standing to bring a Second Amendment challenge. There,

the Second Circuit held that CCDL “fail[ed] to identify any ‘current activities’ from

which it diverted resources in order to pursue those efforts, and it therefore fail[ed]

to show ‘that it was perceptibly impaired.’” Id., 447 (citation and quotation marks

omitted). The Court explained that the organization’s communications with

individuals about an allegedly unconstitutional policy, as well as letter-writing,

lobbying, and pursuing litigation on that same issue, “were not a departure from

CCDL’s usual activities.” Id., 447. Furthermore, CCDL’s allegation that it “has

[expended and diverted] and continues[] to expend and divert its resources and has

been and continues to be adversely and directly harmed by the Defendants’ actions”

was conclusory and did not establish a likelihood of future injury sufficient to support

standing. Id., 448.

      Here, CCDL’s allegations of past and present injury are even less detailed than

the description rejected by the Second Circuit in Lamont. Similarly, its description of

future injury is on par with the one rejected by that panel. Likewise, SAF’s allegations

are deficient for the same reason, and another court has also previously determined

SAF lacked organizational standing. See Hunter v. Cortland Hous. Auth., 2024 U.S.

Dist. LEXIS 84218, at *13 (N.D.N.Y. May 9, 2024) (SAF effectively conceded that it

lacked organizational standing). Alliance for Hippocratic Medicine disposes of the



                                           8
     Case 3:25-cv-00250-SVN        Document 52-1      Filed 06/13/25    Page 9 of 15




Organization Plaintiff’s “diversion of resources” theory, and there is no other fact that

could establish a cognizable injury. The Organization Plaintiffs have not established

Article III standing.

          B.     The Second Circuit prohibits associational standing in § 1983
                 claims.

      Just as the Organization Plaintiffs’ theory of Article III standing is barred by

precedent, so too is their theory of associational standing. Longstanding Second

Circuit caselaw prohibits CCDL and SAF from invoking associational standing to

bring civil rights claims like this one. See N.Y. State Citizens Coal. for Child. v. Poole,

922 F.3d 69, 74-75 (2d Cir. 2019) (“In a string of opinions, this Court has held that

organizations suing under Section 1983 must, without relying on their members’

injuries, assert that their own injuries are sufficient to satisfy Article III’s standing

requirements”); see also Aguayo v. Richardson, 473 F.2d 1090 (2d Cir. 1973) (“Neither

[the] language nor the history [of § 1983] suggests that an organization may sue

under the Civil Rights Act for the violations of rights of members.”). “It is the law of

this Circuit that an organization does not have standing to assert the rights of its

members in a case brought under 42 U.S.C. § 1983, as we have ‘interpret[ed] the

rights [§ 1983] secures to be personal to those purportedly injured.’” Nnebe v. Daus,

644 F.3d 147, 156 (2d Cir. 2011) (quoting League of Women Voters of Nassau Cnty. v.

Nassau Cnty. Bd. of Supervisors, 737 F.2d 155, 160 (2d Cir. 1984)).

      That has been the rule of the Second Circuit since Aguayo was decided in 1973

and remains so despite the different approaches of the other circuits. See Rodriguez

v. Winski, 444 F. Supp. 3d 488, 497 (S.D.N.Y. 2020) (“While acknowledging different


                                            9
     Case 3:25-cv-00250-SVN          Document 52-1       Filed 06/13/25      Page 10 of 15




approaches adopted by other circuits, the Second Circuit recently reaffirmed this

doctrine in Centro De La Comunidad Hispana De Locust Valley v. Town of Oyster

Bay, 868 F.3d 104, 122-24 (2d Cir. 2017)”). Thus, this Court is bound by prior panels

of the Second Circuit “until such time as [our prior decisions] are overruled either by

an en banc panel of our Court or by the Supreme Court.” Nnebe, 644 F.3d at 156 n.6

(citation and quotation marks omitted). No Supreme Court or an en banc Second

Circuit panel has done so.

       Nevertheless, CCDL has argued in other cases that the Second Circuit’s

prohibition on associational standing in § 1983 claims was implicitly overruled by the

Supreme Court’s decision in Students for Fair Admissions, Inc. v. President & Fellows

of Harvard Coll., 600 U.S. 181 (2023). 2 See Thody, 2024 U.S. App. LEXIS 1056, at *6

n.3. But Students for Fair Admissions was silent on this issue. And “[w]hen a

potential jurisdictional defect is neither noted nor discussed in a federal decision, the

decision does not stand for the proposition that no defect existed.” Ariz. Christian

Sch. Tuition Org. v. Winn, 563 U.S. 125, 144 (2011). Neither the Second Circuit’s

precedent on associational standing, nor that of any other Circuit was at issue in

Students for Fair Admissions.

       Rather, Students for Fair Admissions concerned an organization’s equal

protection challenges to university admissions processes on behalf of its members.

The Supreme Court’s discussion of standing with respect to the equal protection



2
 The claims against the University of North Carolina were brought pursuant to 42 U.S.C. § 2000d
and § 1983. See Students for Fair Admissions, Inc. v. Univ. of N.C., 567 F.Supp.3d 580, 585-86
(M.D.N.C. 2021) rev’d by Students for Fair Admissions, 600 U.S. at 231.

                                               10
    Case 3:25-cv-00250-SVN       Document 52-1     Filed 06/13/25    Page 11 of 15




challenge was limited to whether the plaintiff was a valid membership organization,

not whether the plaintiff was barred from claiming associational standing under §

1983. See Students for Fair Admissions, 600 U.S. at 199-201. Any split between the

Second Circuit and Fourth Circuit on this issue was not before the Supreme Court in

Students for Fair Admissions and was not addressed.

      There is no basis to conclude that the Supreme Court’s decision silently

overruled fifty years of Second Circuit precedent. Indeed, when recently confronted

with the opportunity to overrule its prior cases in light of Students for Fair

Admissions, the Second Circuit declined to do so. Thody, 2024 U.S. App. LEXIS 1056,

at *6 n.3. Another court in the Second Circuit explicitly rejected any argument that

Second Circuit, outright, and dismissed an organization attempting to claim

associational standing in a Second Amendment challenge. N.Y. State Rifle & Pistol

Ass’n v. James, 2025 U.S. Dist. LEXIS 28731, at *13-14 (N.D.N.Y. Feb. 18, 2025)

(“[U]ntil such time as . . . prior decisions are overruled by an en banc panel of the

Second Circuit or by the Supreme Court, this Court is bound by their holdings.”); see

also Hunter, 2024 U.S. Dist. LEXIS 84218, at *15 (following Second Circuit precedent

and dismissing SAF’s § 1983 claims).

      Even assuming controlling precedent in this Circuit did not bar Organization

Plaintiffs from asserting associational standing for a § 1983 claims, the allegations in

the complaint do not satisfy the criteria for associational standings. “Associational

standing carves only a narrow exception from the ordinary rule that a litigant ‘must

assert his own legal rights and interests, and cannot rest his claim to relief on the



                                          11
    Case 3:25-cv-00250-SVN        Document 52-1       Filed 06/13/25    Page 12 of 15




legal rights or interests of third parties.’” Bano v. Union Carbide Corp., 361 F.3d 696,

715 (2d Cir. 2004) quoting Valley Forge Christian College v. Americans United for

Separation of Church & State, Inc., 454 U.S. 464, 474 (1982). Where an organization

sues on behalf of its members, it must demonstrate “that (a) at least one of the

association’s members would otherwise have standing to sue in its own right—i.e.,

has constitutional standing; (b) the interests the association seeks to protect are

germane to its purpose; and (c) neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” All. for Open Soc’y

Int’l, Inc. v. United States Agency for Int’l Dev., 651 F.3d 218, 228 (2d Cir. 2011) (citing

Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 342-43 (1977).

       At the very least, CCDL and SAF’s claims of associational standing fail on the

second prong, which requires the interests the organization seeks to protect are

germane to its purposes. The allegations in the complaint are too conclusory and

vague to determine how the interests of the two individual plaintiffs, who are

members but do not purport to speak for CCDL or SAF, are germane to the purposes

of each organization, which has thousands of members throughout the country. CCDL

and SAF allege a generalized opposition to age restrictions on carry permits for people

under age 21 that is no different from any member of the general public who might

disagree with the law. And a general opposition to a statute is not enough to establish

standing to challenge it because “a citizen does not have standing to challenge a

government regulation simply because the plaintiff believes that the government is

acting illegally.” All. for Hippocratic Med., 602 U.S. at 381. A belief that enforcement



                                            12
    Case 3:25-cv-00250-SVN       Document 52-1     Filed 06/13/25   Page 13 of 15




of the age restrictions is illegal, which is the only basis for CCDL’s and SAF’s claims

of associational standing, puts CCDL and SAF on the same footing as any non-

member individual who may share similar opinions about the Second Amendment

and the challenged laws.

      These organizations must show something more that would distinguish them

from the public, at large, or else every firearms law could be challenged based only

on an organization’s belief that the law is illegal. The Court should not credit CCDL

and SAF’s conclusory allegations. See Conn. Parents Union, 8 F.4th at 172.

Construing associational standing so broadly improperly erodes the gatekeeping

purposes of Article III standing which is meant to screen out “plaintiffs who might

have only a general legal, moral, ideological, or policy objection to a particular

government action.” All. for Hippocratic Med., 602 U.S. at 381. The Organization

Plaintiffs’ generalized opposition to age restrictions are not enough to support

associational standing here.

                                    Conclusion

      For the foregoing reasons, CCDL and SAF should be dismissed from this case.



                                        STATE DEFENDANTS,

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                                          13
Case 3:25-cv-00250-SVN   Document 52-1   Filed 06/13/25   Page 14 of 15




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                                14
    Case 3:25-cv-00250-SVN        Document 52-1      Filed 06/13/25    Page 15 of 15




                            CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing. Parties may

access this filing through the Court’s system.



                                                 /s/Blake T. Sullivan
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                                            15
